       The following cases in which the Court of Appeals issued published opinions have
been appealed to the Supreme Court:

    1. Dewayne Oliver Winslow
        v. Commonwealth of Virginia
        Record No. 1447-13-4
        Opinion rendered by Senior Judge Annunziata on
        January 13, 2015

    2. Jabril Jamal Holiday
        v. Commonwealth of Virginia
        Record No. 2003-13-1
        Opinion rendered by Judge McCullough on
         December 30, 2014

    3. Joseph Louis Paduano
        v. Commonwealth of Virginia
        Record No. 0816-13-3
        Opinion rendered by Senior Judge Annunziata on
         December 30, 2014

    4. Jason N. Creamer
        v. Commonwealth of Virginia
        Record No. 0367-14-2
        Opinion rendered by Senior Judge Coleman on
         January 13, 2015
  On February 26, 2015 the Supreme Court issued an opinion in the following case,
which had been appealed from this Court:

1. Adam Derrick Toghill
   v. Commonwealth of Virginia
   Record No. 2230-12-2
   Memorandum opinion rendered by Judge Chafin on February 11, 2014
   Judgment of Court of Appeals affirmed
   (140414)
